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                                                                                   Bastern.DistP1ct of Kentucq
                                                                                            'I. ED
                         IN THE UNITED STATES DISTRICT COURT 

                        FOR THE EASTERN DISTRICT OF KENTUCKY 
                         JAN - ~ 2013
                           NORTHERN DIVISION AT COVINGTON 
                              AT COVINGTON 

                                                                                       ROBERT R CARR 

                                                                                   CLERK U.S. DISTRICT COURT 

 ANTHONY J. ALLEN

                          Plaintiff,

           v.                                            Case No. 2: 12-cv-161-DLB-JGW

 TRIDENT ASSET MANAGEMENT and
 EXPERIAN INFORMATION                                    Judge Bunning
 SOLUTIONS, INC.,
                                                         Magistrate Judge Wehrman
                          Defendants.


                     STIPULATED ENTRY OF DISMISSAL WITH PREJUDICE
                  OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.

           Plaintiff Anthony J. Allen and Defendant Experian Information Solutions, Inc. hereby

  agree that all matters with respect to Experian ONLY have been compromised and settled, and

  that Plaintiff s causes of action against Experian should be dismissed, with prejudice, with each

  party to bear its own costs and attorney's fees.

                                                                      Signed8y:         ~
           IT IS SO ORDERED.                                          David L Bunning
                            Ill/its                                   Unrted States District Udge


  lsI Steven C. Shane 
                              lsI Courtney Snyder 

  Steven C. Shane (0041124) 
                        Courtney L. Snyder* (PAID 307097) 

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                                   Trial Attorney
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  shanelaw@fuse.net                                  *Admitted Pro Hac Vice
  Attorneyfor Plaintiff                              Attorneyfor Defendant 

                                                     Experian Information Solutions, Inc. 




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